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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                   Plaintiffs,

v.
                                            Case No. 1:20-cv-03010-APM
GOOGLE LLC,
                                            HON. AMIT P. MEHTA
                   Defendant,

      and

APPLE INC.,

                   [Proposed] Intervenor-
                   Defendant.


STATE OF COLORADO, et al.,

                   Plaintiffs,

v.                                          Case No. 1:20-cv-03715-APM

                                            HON. AMIT P. MEHTA
GOOGLE LLC,

                   Defendant,

      and

APPLE INC.,

                   [Proposed] Intervenor-
                   Defendant.


APPLE INC.’S EMERGENCY MOTION FOR STAY, OR IN THE ALTERNATIVE,
   FOR MISCELLANEOUS RELIEF AND MEMORANDUM OF POINTS AND
                     AUTHORITIES IN SUPPORT
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I.     INTRODUCTION

       Although Apple understands that this Court intends to adhere to the “strict confines of the

[C]ourt’s Scheduling Order,” Order Denying Limited Intervention at 16, Jan. 27, 2025, ECF No.

1153, Apple has no choice but to move for a stay of these proceedings to protect its rights pending

appeal. Absent a stay, Apple will suffer irreparable harm: the deprivation of its right to participate

as a party in the remedial phase of this case moving forward, including possibly at the trial itself,

while its undisputed property rights are adjudicated. These harms are magnified by a position

Plaintiffs revealed in a recent meet-and-confer with Apple. Specifically, Plaintiffs represented that

they intend to challenge this Court’s decision permitting Apple to submit up to two affidavits

during the trial.   Courts have commonly granted stays pending appeal of orders denying

intervention, and this Court should do the same here. In the alternative, the Court should at

minimum afford Apple full access to the record as a nonparty until the D.C. Circuit rules.

       Plaintiffs have stated that they oppose this stay request and any expedited evaluation of

this motion; Google states that they take no position on Apple’s motion. Apple respectfully asks

the Court to order Plaintiffs to respond on an expedited basis so this Court can resolve this motion

as early as February 4, 2025. Consistent with the time considerations emphasized in this Court’s

order denying limited intervention, once its appeal is formally docketed, Apple also intends to file

with the D.C. Circuit a motion for stay pending appeal and for expedition of the appeal, to permit

resolution of Apple’s intervention before the remedies trial. In the event this Court grants a stay

pending appeal while Apple’s stay motion is pending in the D.C. Circuit, Apple will immediately

notify the D.C. Circuit and withdraw that request.

II.    ARGUMENT

       In deciding whether to grant a stay pending appeal, courts consider four factors: “(1) the

likelihood that the party seeking the stay will prevail on the merits of the appeal; (2) the likelihood


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that the moving party will be irreparably harmed absent a stay; (3) the prospect that others will be

harmed if the court grants the stay; and (4) the public interest in granting the stay.” Cuomo v. U.S.

Nuclear Regul. Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985) (per curiam).

        Courts commonly find these factors satisfied in cases involving the denial of intervention.

In Yocha Dehe v. U.S. Department of the Interior, the D.C. Circuit granted a stay of trial court

proceedings pending expedited appeal of the district court’s denial of intervention. 3 F.4th 427,

429 (D.C. Cir. 2021) (noting that the court had “granted a stay pending appeal” but ultimately

affirming district court’s denial of intervention). Other courts have reached the same conclusion.

See, e.g., Sagebrush Rebellion, Inc. v. Watt, 713 F.2d 525, 527 (9th Cir. 1983); Abbott Lab’ys v.

Diamedix Corp., No. 94-1345, 1994 WL 782247, at *2 (Fed. Cir. July 26, 1994); see also

Dominion Video Satellite, Inc. v. Echostar Satellite Corp., 356 F.3d 1256, 1267 (10th Cir. 2004)

(emphasizing that proper procedure is for putative intervenor to move for a stay “to preserve the

status quo pending appeal so that the appellant may reap the benefit of a potentially meritorious

appeal” (citation omitted)). These decisions reflect the common-sense reality that a stay both

prevents irreparable harm to the applicant (who is unable to protect their interests as the case

proceeds) and avoids the possibility that the appellate court will be obliged to reverse the ultimate

judgment based on an erroneous denial of intervention. See Cascade Nat. Gas Corp. v. El Paso

Nat. Gas Co., 386 U.S. 129, 136 (1967) (ordering that “merits of [antitrust] case must be reopened”

due to erroneous denial of intervention in order to afford applicant “an opportunity to be heard as

of right as [an] intervenor[]” in remedies phase); see also In re PaineWebber Inc. Ltd. P’ships

Litig., 94 F.3d 49, 52 (2d Cir. 1996) (“If the intervenor prevailed on appeal, the entire matter might

have to be relitigated.”).




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       Here, the Court should stay the proceedings pending Apple’s appeal of the denial of its

motion for limited intervention. First, as to likelihood of success, Apple has a strong argument

that its motion is timely under the governing standard because Apple moved to intervene promptly

once it became clear its interests were no longer adequately protected—that is, shortly after the

parties filed proposed final judgments, where (among other things) Plaintiffs proposed a remedial

term unique to Apple that would forbid any “contract between Google and Apple in which there

would be anything exchanged of value.” Status Conference Tr. 41:20-24, Jan. 17, 2025, ECF No.

1147; see Pls.’ Initial Proposed Final Judgment at 7, Nov. 20, 2024, ECF No. 1062-1; see also

Google LLC’s Proposed Final Judgment at 4-5, Dec. 20, 2024, ECF No. 1108-1. Apple recognizes

that this Court took a different view of timeliness and related considerations, but Apple respectfully

submits that it at least has a “substantial case on the merits.” Washington Metro. Area Transit

Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977); see Nat’l Ass’n for

Advancement of Colored People v. Trump, 321 F. Supp. 3d 143, 146, 147 (D.D.C. 2018) (granting

stay notwithstanding disagreement with movant’s merits argument because “movant ha[d] made a

substantial case on the merits” (citation omitted)).

       Second, Apple will suffer clear and substantial irreparable harm if it is unable to participate

in the remedies phase moving forward. Apple will be unable to participate in discovery and

develop evidence in the targeted fashion it has proposed as this litigation progresses toward a final

judgment. If Apple’s appeal is not resolved until during or after the remedies trial, Apple may

well be forced to stand mute at trial, as a mere spectator, while the government pursues an extreme

remedy that targets Apple by name and would prohibit any commercial arrangement between

Apple and Google for a decade. This would leave Apple without the ability to defend its right to

reach other arrangements with Google that could benefit millions of users and Apple’s entitlement




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to compensation for distributing Google search to its users. Further, Apple will be unable to

present its own live testimony or cross-examine witnesses who opine about Apple’s interests and

incentives with respect to the general search market. Rule 24 is designed to afford a putative

intervenor the opportunity to defend its rights in precisely this kind of scenario. And the limited

participation this Court afforded Apple as a non-party—which, even as to that limited role,

Plaintiffs are now calling into question, see infra—“is not an adequate substitute for participation

as a party.” Nuesse v. Camp, 385 F.2d 694, 704 n.10 (D.C. Cir. 1967).

       Third, the balance of equities and public interest favor a stay. Of course, a timely—and

fair—resolution of the remedies phase of this case serves the parties and the public. And Apple’s

motion for intervention sought to adhere to the Court’s preference to resolve this case by “early

August 2025.” Order Denying Limited Intervention at 7; see Apple Inc’s Motion for Limited

Intervention at 15, Dec. 23, 2024, ECF No. 1111. But particularly in a case of this gravity—

implicating the competitive dynamics of the search market for consumers for decades as well as

Apple’s freedom to contract—the concern about a short delay is outweighed by the need for a fully

developed record that includes information that only Apple can develop (such as how it would

respond to various aspects of Plaintiffs’ proposed remedy and why Plaintiffs’ proposed remedy

would be unworkable) and that adequately protects Apple’s rights in response to Plaintiffs’

proposal targeting Apple directly. Cf. Cascade, 386 U.S. at 136 (explaining that the merits may

need to be reopened where applicant was improperly denied “an opportunity to be heard as of right

as [an] intervenor”).

       Finally, events since this Court issued its order denying intervention have magnified the

need for a stay. During a meet-and-confer call on January 29, Plaintiffs informed Apple that they

intend to contest this Court’s intervention order to the extent it permits Apple to submit up to “two




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affidavits from fact witnesses,” depending on whether Mr. Cue is called to testify at trial. Order

Denying Limited Intervention at 19; see Declaration of Sarah M. Ray in Support of Motion for

Stay ¶ 3, Jan. 30, 2025. Plaintiffs informed Apple that they believe the witness affidavits afforded

to Apple in the Court’s order would be inadmissible hearsay, such that the Court could not rely

upon them in issuing its findings of fact or remedies order. Ray Decl. ¶ 3. Thus, notwithstanding

this Court’s recognition that Apple’s limited participation in the remedies phase is warranted,

Plaintiffs appear intent on preventing the Court from considering even that limited evidence during

the remedies phase.

        This threat magnifies the harm to Apple of moving ahead with the remedies phase without

Apple’s participation as an intervenor, while throwing a wrench into the process that this Court

has ordered. It also creates a serious procedural issue. Because of the timing considerations

emphasized by this Court, Apple filed an immediate notice of appeal on January 29, 2025. The

filing of that notice “confer[red] jurisdiction on the court of appeals and divest[ed] the district court

of its control over those aspects of the case involved in the appeal.” Griggs v. Provident Consumer

Discount Co., 459 U.S. 56, 58 (1982) (per curiam). As a result, this Court cannot now alter the

status of its order. See Amarin Pharms. Ir. Ltd. v. FDA, 139 F. Supp. 3d 437, 440 (D.D.C. 2015)

(citation omitted). Plaintiffs’ objections to the Court’s intervention order therefore are not

currently suitable for adjudication. These circumstances underscore that the proper course is to

grant a stay of the proceedings while Apple pursues an expedited appeal.

        If the Court is not inclined to grant Apple a stay of the proceedings pending Apple’s

expedited appeal, Apple respectfully requests that the Court afford Apple access to the developing

record as a non-party until the D.C. Circuit resolves Apple’s appeal. In particular, Apple requests

access to the parties’ initial and final witness lists and the discovery record, and the opportunity to




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attend depositions and/or obtain deposition transcripts and exhibits to minimize the prejudice to

Apple in the event the D.C. Circuit concludes that it was entitled to intervene. This request will

impose no burden on the parties or the Court. Apple will agree to any standing confidentiality or

protective order with respect to party or third-party evidence produced in discovery. This limited

and practical step will mitigate the prejudice to Apple by putting it in the best position possible to

participate in the trial, if the D.C. Circuit reverses this Court’s order.

III.    CONCLUSION

        Accordingly, Apple respectfully seeks expedited consideration of this motion and requests

that the Court stay these proceedings pending the D.C. Circuit’s resolution of Apple’s appeal or,

at a minimum, grant Apple access to the developing record as a non-party for this period.



 Date: January 30, 2025                                Respectfully submitted,

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